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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                      )
TERRI D. WRIGHT,                                      )
                                                      )
       Plaintiff,                                     )
                                                      )
v.                                                    )
                                                      )    Civil Action No. 1:20-cv-02471-KBJ
EUGENE & AGNES E. MEYER                               )
FOUNDATION, et al.                                    )
                                                      )
       Defendants.                                    )
                                                      )

     DECLARATION OF TRACEY L. BROWN IN OPPOSITION TO DEFENDANTS’
                         MOTION TO DISMISS
        Tracey L. Brown, an attorney duly admitted to practice before this Court, hereby declares

the following to be true under penalty of perjury, pursuant to 28 U.S.C. § 1746:


        1.       I am the Managing Partner of The Cochran Firm, P.C., attorneys for the Plaintiff

in the within action, and as such I am fully familiar with the facts and circumstances surrounding

this matter.

        2.       I submit this Declaration, along with the accompanying exhibits and

Memorandum of Points and Authorities in Opposition to Defendants’ Motion to Dismiss.

        3.       Attached hereto in support of Plaintiff’s Opposition to Defendants’ Motion to

Dismiss are Exhibits 1- 2, which are true and accurate copies of the following documents:

        Exhibit 1       Verified Complaint


        Exhibit 2       Verified Amended Complaint filed in the Henson v. Washington Regional
                        Association of Grantmakers Matter; Civil Action No. 20-cv-02043 (DLF)




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Dated: New York, New York
       September 24, 2020


                                             Respectfully Submitted,
                                             THE COCHRAN FIRM
                                             Attorneys for Plaintiff

                                                 /s/ Tracey L. Brown
                                             _________________________
                                             Tracey L. Brown, ESQ. (DC Bar No. 450898)
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                                             New York, NY 10006
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                                             tbrown@cochranfirm.com




                              CERTIFICATE OF SERVICE

       This is to certify that I have filed a true and correct copy of the above and foregoing

document, along with the accompanying Exhibits and Plaintiff’s Memorandum of Points and

Authorities in Opposition to the Defendants’ Motion to Dismiss, to the Clerk of Court using the

ECF electronic filing system which sent notification to all counsel of record on the 24th day of

September 2020:

Alison N. Davis (Bar No. 429700)
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                                             /s/ Tracey L. Brown
                                             Tracey L. Brown, Esq. (DC Bar No. 450898)


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